      Case 2:12-cv-03905-TON Document 3 Filed 08/15/12 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

PATRICIA EHRHARDT,                           )
                                             )
              Plaintiff                      )
                                             )
       v.                                    ) Case No.: 2:12-cv-3905-TON
                                             )
NCO FINANCIAL SYSTEMS, INC.                  )
                                             )
              Defendant                      )
                                             )
                                             )
                                             )

                      NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

       Pursuant to Local Rule of Civil Procedure 41.1(b), Plaintiff voluntarily dismisses

his Complaint with prejudice.




Dated: August 15, 2012                      BY:/s/Craig Thor Kimmel
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